                  IN THE DISTRICT COURT OF THE UNITED STATES
                 FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                              CHARLOTTE DIVISION



 UNITED STATES OF AMERICA,

                Plaintiff,
                                                    DOCKET NO. 3:24-CR-238-FDW-SCR
         vs.

 WALTER ADONAI RIVERA
 CHINCHILLA,

                Defendant.



MOTION TO REVOKE DETENTION ORDER AND FOR RELEASE ON CONDITIONS

       Mr. Walter Adonai Rivera Chinchilla through counsel, Federal Public Defenders Elizabeth

Gerber and Nicole Lybrand, moves this Court pursuant to 18 U.S.C. § 3145(b) to revoke the order

of detention entered on November 8, 2024, and order him released on conditions.

                                      BACKGROUND

       On October 29, 2024, Special Agent Caitlin McGourty sought a criminal complaint against

Mr. Chinchilla for violations of 18 U.S.C. § 922(a)(1)(A) for conduct occurring between July 3,

2024, through October 16, 2024. Dkt. #3. Based off that complaint, Magistrate Judge Metcalf

signed an arrest warrant against Mr. Chinchilla on October 29, 2024, which was executed that

same day. Dkts. #4-5. Mr. Chinchilla made his initial appearance before Magistrate Judge Keesler

on October 31, 2024, at which the Government moved for detention. The preliminary and detention

hearings were scheduled for November 5, 2024.



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       The Probation Office prepared a pretrial report on November 4, 2024. Dkt. #8. The

Probation Office recommended that Mr. Chinchilla “be released on a $25,000 Unsecured Bond

with pretrial services supervision under the standard conditions” and several specific conditions,

including location monitoring. Id. On November 5, Mr. Chinchilla waived his preliminary hearing,

Dkt. #9, and a contested bond hearing occurred at which Agent McGourty testified under oath.

Magistrate Judge Keesler took the matter under advisement but issued a written order on

November 8, 2024, ordering that Mr. Chinchilla be detained. Dkt. # 10. Magistrate Judge Keelser

concluded that the Government had introduced clear and convincing evidence that no condition or

combination of conditions of release will reasonably assure the safety of any other person and the

community or Mr. Chinchilla’s appearance as required. Id. He found three factors in support: the

weight of the evidence against the Defendant is strong, he has significant family or other ties

outside the United States, and he has prior failures to appear. Id. In additional text, Judge Keesler

expounded that it was “a close bond decision.” Id.

       On November 19, 2024, the Grand Jury returned a Four-Count Indictment against Mr.

Chinchilla for violations of 18 U.S.C. §§ 933(a)(1) (Count One), 922(a)(6) (Counts Two and

Three), and 922(a)(1)(A) (Count Four). Dkt# 13. Mr. Chinchilla is scheduled for Initial

Appearance upon the indictment on November 26, 2024.

       The facts relied upon at the detention hearing are stated in the Complaint, Dkt #3, and as

testified by Agent McGourty on November 5, 2024. Mr. Chinchilla was arrested on October 29,

2024, without incident, agreed to speak with law enforcement without a lawyer, and directed

officers to a location where they recovered five firearms.




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       As stated on the Pretrial Report, Mr. Chinchilla has no prior criminal convictions and no

prior arrests for any violent charges. He is a citizen of this country—born here in Charlotte—and

has a stable residence available with his sister in Rock Hill, SC, who was present in the courtroom.

No evidence was presented that Mr. Chinchilla had ever been located outside of North and South

Carolina, that Mr. Chinchilla has a passport, or that he has other means of travelling internationally.

                                           ARGUMENT

       Mr. Chinchilla now moves under 18 U.S.C. § 3145(b) to revoke the Magistrate Judge’s

order. Pursuant to 18 U.S.C. § 3145(b), if a person is ordered detained by a Magistrate Court,

“the person may file, with the court having original jurisdiction over the offense, a motion for

revocation or amendment of the order.” 18 U.S.C. § 3145(b). “The motion shall be determined

promptly.” 18 U.S.C. § 3145(b). “When the district court acts on a motion to revoke or amend a

magistrate judge’s pretrial detention order, the district court acts de novo and must make an

independent determination of the proper pretrial detention or conditions of release.” United

States v. Stewart, 19 Fed. Appx 46, 48 (4th Cir. Sept. 6, 2001) (unpublished) (citing United

States v. Rueben, 974 F.2d 580, 585-86 (5th Cir. 1992)).

       Because Congress, in passing the Bail Reform Act, intended that “[p]retrial detention

[would] be the exception rather than the rule,” the provisions of “[t]he statute favor[ ] release

over detention for the majority of accused persons.” See United States v. Holloway, 781 F.2d

124, 125 (8th Cir. 1986) (citing S. Rep. No. 225, 98th Cong., 1st Sess., reprinted in 1984 U.S.

Code Cong. & Ad. News 3182). “Only in rare circumstances should release be denied, and

doubts regarding the propriety of release should be resolved in favor of release.” United States v.




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Chen, 820 F. Supp. 1205, 1207 (N.D. Cal. 1992) (citing United States v. Gebro, 948 F.2d 1118,

1121 (9th Cir. 1991); United States v. Motamedi, 767 F.2d 1403, 1405 (9th Cir. 1985)).

         “Because the law thus generally favors bail release,” the statute places on the

Government “a dual burden in seeking pre-trial detention.” See United States v. Sabhnani, 493

F.3d 63, 75 (2d Cir. 2007). First, the Government must establish one of the statutory bases for

seeking a detention hearing under § 3142(f). If a defendant is accused of one of the offenses

listed in § 3142(f)(1), the Government is automatically entitled to a hearing based on the nature

of the offense. Second, after it establishes a basis for seeking detention, the Government must

then show that “no condition or combination of conditions will reasonably assure the appearance

of the person as required and the safety of any other person and the community.” 18 U.S.C. §

3142(e)(1).

         There is not clear and convincing evidence that Mr. Chinchilla will not appear as required.

When deciding whether a defendant will appear in court as required, courts should focus on the

need to appear for the charges before them. See United States v. Torres-Rosario, 600 F. Supp. 2d

327, 334 (D.P.R. 2009). While Mr. Chinchilla has failed to appear for traffic citations over the last

several years, there was no evidence presented that that history is predictive of his behavior in the

instant case. Indeed, the empirically grounded Federal Pretrial Risk Assessment Scoring Guide

directs that officers shall “not include FTAs for traffic summons.” Exhibit 1 at #1.2. 1




1 The attached exhibit was last revised in 2013. The PTRA was revalidated in 2018 and was found to “perform[]

well in predicting violations in general, including any adverse pretrial events and a combined new criminal rearrest
or FTA outcome. Moreover, the current study demonstrate[d] that the PTRA can adequately predict specific types of
pretrial violations, including rearrests for any or violent offenses, FTAs, or pretrial revocations.” Thomas H. Cohen,
Revalidating the Federal Pretrial Risk Assessment Instrument (PTRA): A Research Summary, Federal Probation
Journal (September 2018), available at https://www.uscourts.gov/federal-probation-journal/2018/09/revalidating-
federal-pretrial-risk-assessment-instrument-ptra.
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       Moreover, the Office of Probation has considered Mr. Chinchilla’s history in traffic court

in making its recommendation for release on conditions. The Office of Probation concluded that

in the posture of this case and with the conditions available to this court, there are conditions of

release that could “reasonably assure the appearance of Mr. Chinchilla.” 18 U.S.C. § 3142(c)(1).

Unlike for his traffic citations, Mr. Chinchilla now has counsel and the full resources of the Office

of the Federal Public Defender, which includes, if necessary, transportation to and from any court

appearances and/or meetings with counsel. And, unlike in traffic court, Mr. Chinchilla could be

placed on pretrial supervision and electronic monitoring to ensure that he remains in regular

contact with the court system and living and working in the places he represented to the Court at

his detention hearing.

       The Magistrate Judge’s reliance on the Government’s contention that Mr. Chinchilla has

contacts who can ship firearms internationally and the fact that Mr. Chinchilla’s father (who he

only recently met as documented in the Pretrial Report) is a native of Honduras also fail to show

that no conditions could reasonably assure Mr. Chinchilla’s appearance. As to the first, the

Government produced no evidence to show that Mr. Chinchilla has the resources, knowledge, or

ability to relocate his person outside of the country. As to the second, ties to other countries,

whether alleged as part of an individual’s case or history, are insufficient to warrant detention

where the individual has stronger ties to the local community. Consider the United States Supreme

Court case Truong Dinh Hung v. United States, 439 U.S. 1326 (1978). There, following a

conviction for espionage-related offenses, the District Court revoked the defendant’s bond. Id. at

1326. The Fourth Circuit upheld that determination because the defendant was a citizen of another

country, was convicted of offenses involving the transmission of information to other countries,


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and he had not established permanent residence in this country. Id. Justice Brennan as the circuit

justice overturned this ruling, writing “if these considerations suggest opportunities for flight, they

hardly establish any inclination on the part of applicant to flee. And other evidence supports the

inference that he is not so inclined.” Id. at 1329. Among the countervailing factors were ones that

also apply to Mr. Chinchilla: that defendant had resided continuously in the United States for over

a decade and maintained a close relationship with his sister, a naturalized citizen. Id. Mr.

Chinchilla, a citizen and lifelong resident of our community, who can reside with his sister in the

nearby town of Rock Hill, surely poses a stronger risk profile than the defendant in Truong Dinh

Hung. He should be ordered released.

       There is not clear and convincing evidence that Mr. Chinchilla is a danger to the community

or another person. Without question, the charges against Mr. Chinchilla are serious. They are not,

however, violent, and there is zero evidence in the record to show that Mr. Chinchilla has a history

of or inclination toward violence. And the order of detention does not itself make any findings that

would support detention based on a danger to the community beyond the weight of the evidence.

However, the “weight of the evidence against the defendant is a factor to be considered but it is

‘the least important’ of the various factors.” United States v. Townsend, 897 F.2d 989, 994 (9th

Cir. 1990) (quoting United States v. Motamedi, 767 F.2d 1403, 1408 (9th Cir. 1985)). It is not Mr.

Chinchilla’s burden to show that the crime of which he is accused is not serious and does not pose

dangers to the community. See United States v. Dominguez, 783 F.2d 702, 706 (1986) (“A

defendant can hardly be expected, after all, to demonstrate that narcotics trafficking is not

dangerous to the community. Nor can a defendant ‘rebut’ the government's showing of probable

cause to believe he is guilty of the crimes charged. . . . [E]vidence probative of guilt is admitted at


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a detention hearing only to support or challenge the weight of the government’s case against the

defendant. This is only one of the factors relevant to detention.”) (citations omitted). And, as above,

pretrial supervision and electronic monitoring are less restrictive conditions of release that are

available and that can reasonably assure the safety of the community.

                                          CONCLUSION

       Mr. Chinchilla respectfully requests that the District Court grant his motion for a

revocation of his detention order and release him on conditions pending trial.

                               Respectfully submitted:

                               /s/Elizabeth Gerber
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DATE: November 22, 2024

                    ARTIFICIAL INTELLIGENCE CERTIFICATION

   I, Elizabeth Gerber, hereby certify that:

             1. No artificial intelligence was employed in doing the research for the
                 preparation of this document, with the exception of such artificial
                 intelligence embedded in the standard on-line legal research sources
                 Westlaw, Lexis, FastCase and Bloomberg;


             2. Every statement and every citation to an authority contained in
                 this document has been checked by an attorney in this case and/or

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        a paralegal working at his/her direction as to the accuracy of the
        proposition for which it is offered, and the citation to authority
        provided.

                                       /s/Elizabeth Gerber
                                       Elizabeth Gerber
                                       Attorney for Mr. Chinchilla




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